'l!:>.AO 245C      Case:
                (Rev.        5:07-cr-00061-KKC
                      06/05) Amended                         Doc
                                     Judgment in a Criminal Case     #: 115 Filed: 07/11/08 Page: 1 of 6 - Page
                                                                                                       (NOTE:       ID#:
                                                                                                              Identify     213
                                                                                                                       Changes with Asterisks (*»
                Sheet I


                                                  UNITED STATES DISTRICT COURT
                                                      EASTERN             District of              KENTUCKY
            UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.
                      JOHN WILLIAM ROSE                                             Case Number:                    LEXINGTON 5:07-CR-61-S-1-KSF
                                                                                    USMNumber:                      49145-080
Date of Original Judgment: . .=1..: .;11=2::. . ;/0:. .,:7         _                James Lowry, IV
(Or Date of Last Amended Judgment)                                                  Defendant's Attorney

Reason for Amendment:
o Correction of Sentence on Remand (18 U.S.C. 3742(f)(I) and (2))                   o Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e»
X   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                  o Modification of Imposed Term of Imprisonment for Extraordinary and
    P.35(b»                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(I»
o Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»                o Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
o Correction ofSentencefor Clerical Mistake (Fed. R. Crim. P. 36)                        to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2»

                                                                                    o Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                      o 18 U.S.C. § 3559(c)(7)
                                                                                    o Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:                                                            ~]asterl1 District of Kentuckv
X pleaded guilty to count(s) ...:1..::,s..=&::...=2s::...-                      --f!-'-lH--I"'"'--IA
                                                                                   FIL.Sa                     '                                             _

o     pleaded nolo contendere to count(s)
      which was accepted by the court.
                                                                                  JUL 1 1 l008
o     was found guilty on counus)
      after a plea of not guilty.                                                  AT i..EXiNGTON
                                                                                 ~ESLIE G WHiHv1ER
The defendant is adjudicated guilty of these offenses:                      ~'LERK I.J S OISTRICT COURT

Title & Section                          Nature of Offense                                                           Offense Ended
21 U.S.c. 846                            Conspiracy to possess with intent to distribute marijuana                  3/21/07                     Is
                                          & to distribute marijuana

18 U.S.c. 1956(h)                        Conspiracy to conduct money laundering transactions                        3/21/07                     2s

       The defendant is sentenced as provided in pages 2                     through 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o     The defendant has been found not guilty on count(s)
X     Count(s)         3s, 4s, 6s, & original indictment       0 is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                    July 11, 2008
                                                                                    D~P£n of Judgment

                                                                                    Signature of Judge
                                                                                    KARL S. FORESTER, SENIOR U. S. DISTRICT JUDGE
                                                                                    Name and Title of Judge

                                                                                    July 11, 2008
                                                                                    Date
AO 245C   Case:    5:07-cr-00061-KKC
          (Rev. 06/05)                            Doc
                       Amended Judgment in a Criminal Case#: 115 Filed: 07/11/08 Page: 2 of 6 - Page ID#: 214
           Sheet 2 -   Imprisonment                                                                     (NOTE: Identify Changes with Asterisks (*»
                                                                                                   Judgment -   Page   _-=---_
                                                                                                                          2      of         6
DEFENDANT:                 JOHN WILLIAM ROSE
CASE NUMBER:               LEXINGTON 5:07-CR-61-S-1-KSF

                                                          IlVIPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term

* SIXTY (60) MONTHS ON COUNT 1s AND SIXTY (60) MONTHS ON COUNT 2s, TO RUN CONCURRENT WITH
EACH OTHER - FOR A TOTAL TERM OF SIXTY (60) MONTHS. *


X    The court makes the following recommendations to the Bureau of Prisons:
     It is recommended to the Bureau of Prisons that the defendant participate in the intensive drug education and treatment
     program.
     The Court recommends that the defendant participate in any available vocational training programs for which he may be
     eligible.

o    The defendant is remanded to the custody of the United States Marshal.

D    The defendant shall surrender to the United States Marshal for this district:
     D     at                                 D    a.m.      D    p.m.      on

     D     as notified by the United States Marshal.

D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

     o     before 2 p.m. on

     D     as notified by the United States Marshal.

     D     as notified by the Probation or Pretrial Services Office.



                                                               RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                         to

a                                                  with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                       By                                                                       _
                                                                                             DEPUTY UNITED STATES MARSHAL
              Case: 5:07-cr-00061-KKC Doc #: 115 Filed: 07/11/08 Page: 3 of 6 - Page ID#: 215
AO 245C        (Rev. 06/05) Amended Judgment in a Criminal Case
               Sheet 3 - Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*»
                                                                                                          Judgment-Page _ _
                                                                                                                          3_          of         6
DEFENDANT:                    JOHN WILLIAM ROSE
CASE NUMBER:                  LEXINGTON 5:07-CR-61-S-1-KSF
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
TEN (10) YEARS. This term consists of terms of ten (10) years on Count I s and three (3) years on Count 2s, such terms to run
concurrently.




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

o        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a [me or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record, personalliistory, or characteristics and shall permit the probation officer to make such notifications and confirm the
AO 245C
           Case:     5:07-cr-00061-KKC Doc #: 115 Filed: 07/11/08 Page: 4 of 6 - Page ID#: 216
            (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 3C - Supervised Release                                                 (NOTE: Identify Changes with Asterisks ("'»
                                                                                       Judgment-Page _ _
                                                                                                       4 _ of                  6
DEFENDANT:                JOHN WILLIAM ROSE
CASE NUMBER:              LEXINGTON 5:07-CR-61-S-1-KSF

                                       SPECIAL CONDITIONS OF SUPERVISION
The defendant shall not possess a firearm, destructive device, or dangerous weapon.
The defendant shall participate in a substance abuse treatment program and shall submit to periodic drug and alcohol
testing at the direction and discretion of the probation officer during the term of supervision.
The defendant shall abstain from the use of alcohol.




Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of2004, the
defendant shall submit to DNA collection if the offense of conviction is a felony.



                                                 ACKNOWLEDGMENT

Upon a finding ofa violation ofprobation or supervised release, I understand that the Court may (1) revoke supervision,
(2) extend the term ofsupervision, and/or (3) modify the conditions ofsupervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy ofthem.



(Signed)
           (7?D......e"fe~n-dr-an-t")-----------------                     Date




           o. S. ProbatIOn OfficerIDeslgnated WItness                      Date
          Case: 5:07-cr-00061-KKC Doc #: 115 Filed: 07/11/08 Page: 5 of 6 - Page ID#: 217
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*»
                                                                                                 Judgment -   Page     5    of     _ _..><.6         _
DEFENDANT:                       JOHN WILLIAM ROSE
CASE NUMBER:                     LEXINGTON 5:07-CR-61-S-1-KSF
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                        Fine                             Restitution
TOTALS           $ 200.00                                        $     -0-                            $ -0­


D   The determination of restitution is deferred until               An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.
                                                         ---.
D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal Victims must be paid
    before the United States is paid.

Narne of Payee                             Total Loss*                         Restitution Ordered                   Priority or Percentage




TOTALS                            $-------­                                $


D    Restitution amount ordered pursuant to plea agreement $                                 _

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D the interest requirement is waived for          D fine        D restitution.
     D the interest requirement for the        D fine         D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 11OA, and Il3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO          (Rev. 06/05)
           Case:         Amended Judgment inDoc
                   5:07-cr-00061-KKC        a Criminal
                                                 #: 115Case Filed: 07/11/08 Page: 6 of 6 - Page ID#: 218
            Sheet 6 -    Schedule of Payments                                                         (NOTE: Identify Changes with Asterisks
                                                                                                   Judgment - Page --6..- of                 6
DEFENDANT:                 JOHN WILLIAM ROSE
CASE NUMBER:               LEXINGTON 5:07-CR-61-S-1-KSF

                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X     Lump sum payment of $ 200.00 due immediately, balance due
              in accordance with D C, D D, [J:, or          D F below; or
B     D Payment to begin immediately (may be combined                [J C,        D D, or      D F below); or
C     D Payment in equal                          (e.g., weekly, monthly, quarterly) installments of                      over a period of
                          (e.g., months or years), to                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of                 over a period of
                         (e.g., months or years), to                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary penalties are payable to:
           Clerk, U. S. District Court
           Eastern District of Kentucky
           Post Office Box 3074
           Lexington, KY 40588-3074


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
